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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           District of Delaware
                                       (State)                                                                                    ☐ Check if this is an
Case number (if known):                                       Chapter   11                                                            amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Z Gallerie, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          1855 West 139th Street
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Gardena, California 90249
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Los Angeles County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.zgallerie.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Z Gallerie, LLC                                                Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          442110 (Furniture Stores)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                 Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    District of Delaware                             When
     List all cases. If more than 1,                                                                                           03/11/2019
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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    Debtor           Z Gallerie, LLC                                                   Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No1
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
        creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
     (On a Consolidated Basis)            ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
    (On a Consolidated Basis)
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion


1
       The Debtor does not believe it owns or possesses any real or personal property that poses or is alleged to pose a threat of imminent and
       identifiable harm to the public health or safety.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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    Fill in this information to identify the case:


    United States Bankruptcy Court for the:
                           District of Delaware
                                             (State)                                                  ☐ Check if this is an
    Case number (if                                                                                       amended filing
    known):                                            Chapter   11


                                            Rider 1
             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Z Gallerie, LLC.

       •    Z Gallerie, LLC
       •    Z Gallerie Holding Company, LLC
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                         CONSENT OF THE SOLE MEMBER OF
                                Z GALLERIE, LLC

                                        March 10, 2019

        The undersigned, being the sole member (the “Member”) of Z Gallerie, LLC, a Delaware
limited liability company (the “Company”), in lieu of holding a meeting of the Member hereby
takes the following actions and adopts the following resolutions by written consent pursuant to
the Company’s limited liability company agreement (the “LLC Agreement”) and the laws of the
state of Delaware:

                      WHEREAS, the Member considered presentations by the
              management and the Company’s financial and legal advisors
              regarding the Company’s financial situation, the strategic
              alternatives available to it, and the effect of the foregoing on the
              Company’s businesses.

                     WHEREAS, the Member has had the opportunity to consult
              with the management and the financial and legal advisors of the
              Company and fully consider each of the strategic alternatives
              available to the Company.

                     WHEREAS, the manager of the Member, as manager of the
              Company, has approved and authorized, by separate written
              consent, Z Gallerie, LLC’s entry into a postpetition senior secured
              superpriority debtor in possession term loan facility (the “DIP
              Financing”), and authorized the Member’s duly appointed officers
              to take any and all action necessary to consummate the DIP
              Financing.

                      WHEREAS, the Company will obtain benefits of the
              obligations arising from and in connection with the DIP Financing.

                       WHEREAS, in the judgment of the Member, it is desirable
              and in the best interest of the Company, its interest holders, its
              creditors, and other parties in interest, to obtain the benefits from
              the use of cash collateral (as such term is defined in section 363(b)
              of the Bankruptcy Code), which is security for certain of the
              Company’s secured lenders under that certain prepetition Credit
              Agreement, dated as of October 8, 2014, by and among the
              Company, as borrower, the Member, as a guarantor, the lenders
              party thereto (the “Prepetition Secured Lenders”), and KeyBank
              National Association, as a Prepetition Secured Lender and as agent
              for itself and the other Prepetition Secured Lenders.

                     WHEREAS, pursuant to the direction of the Member, the
              Company’s management and advisors are proposing a plan of
              reorganization in good faith and consistent with the requirements of
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     chapter 11 of title 11 of the United States Code (the “Bankruptcy
     Code”)

             WHEREAS, pursuant to the direction of the Member, the
     Company’s management and advisors have determined that it is
     necessary, based on the Company’s judgment and acting in the best
     interests of the Company, its creditors, and other parties in interest,
     that the Company should close certain stores and liquidate the
     assets and inventory related thereto.

            NOW, THEREFORE, BE IT:

CHAPTER 11 FILING

             RESOLVED, that in the judgment of the Member, it is
     desirable and in the best interests of the Company, its creditors, and
     other parties in interest, that the Company shall be, and hereby is,
     authorized to file or cause to be filed the voluntary petition for
     relief (such voluntary petition, and the voluntary petitions to be
     filed by the Company’s affiliates, collectively, the “Chapter 11
     Cases”) under the provisions of chapter 11 of the Bankruptcy Code
     in the United States Bankruptcy Court for the District of Delaware
     (the “Bankruptcy Court”).

            RESOLVED, that any duly appointed officer of the
     Company (collectively, the “Authorized Officers”), acting alone or
     with one or more other Authorized Officers be, and each of them
     hereby is, authorized, empowered, and directed to execute and file
     on behalf of the Company all petitions, schedules, lists, and other
     motions, objections, replies, applications, papers, or documents, and
     to take any and all action that they deem necessary or proper to
     obtain such relief, including, without limitation, any action
     necessary or proper to maintain the ordinary course operation of the
     Company’s businesses or to assist the Company in the Chapter 11
     Cases and in carrying out its duties under the provisions of the
     Bankruptcy Code.

RETENTION OF PROFESSIONALS

             RESOLVED, that each of the Authorized Officers be, and
     hereby is, authorized and directed to employ the law firm of
     Kirkland & Ellis LLP, as general bankruptcy counsel, to represent
     and assist the Company in carrying out its duties under the
     Bankruptcy Code, and to take any and all actions to advance the
     Company’s rights and obligations, including filing any motions,
     objections, replies, applications, or pleadings; and in connection
     therewith, each of the Authorized Officers, with power of



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delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services
of Kirkland & Ellis LLP.

        RESOLVED, that each of the Authorized Officers be, and
hereby is, authorized and directed to employ the firm of Lazard
Middle Market, LLC, as investment banker, to represent and assist
the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized
Officers is, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Lazard Middle
Market, LLC.

        RESOLVED, that each of the Authorized Officers be, and
hereby is, authorized and directed to employ the firm of Berkeley
Research Group, LLC, as restructuring advisor, to represent and
assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each of the
Company’s rights and obligations; and in connection therewith,
each of the Authorized Officers is, with power of delegation,
hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of
Berkeley Research Group, LLC.

        RESOLVED, that each of the Authorized Officers be, and
hereby is, authorized and directed to employ the firm of Bankruptcy
Management Solutions, Inc. d/b/a/ Stretto, as notice and claims
agent to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services
of Bankruptcy Management Solutions, Inc. d/b/a/ Stretto.

       RESOLVED, that each of the Authorized Officers be, and
hereby is, authorized and directed to employ any other
professionals to assist the Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay


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    appropriate retainers, and to cause to be filed an appropriate
    application for authority to retain the services of any other
    professionals as necessary.

            RESOLVED, that each of the Authorized Officers be, and
    hereby is, with power of delegation, authorized, empowered, and
    directed to execute and file all petitions, schedules, motions,
    objections, replies, applications, pleadings, lists, and other papers
    and, in connection therewith, to employ and retain all assistance by
    legal counsel, accountants, investment bankers, financial advisors,
    restructuring advisors, and other professionals and to take and
    perform any and all further acts and deeds that each of the
    Authorized Officers deem necessary, proper, or desirable in
    connection with the Company’s Chapter 11 case, with a view to the
    successful prosecution of the case.

DEBTOR IN POSSESSION FINANCING

            RESOLVED, that in the judgment of the Member, it is
    desirable and in the best interests of the Company, its creditors and
    other parties in interest, that the Company be and hereby is
    authorized and empowered to enter into that certain postpetition
    Secured Superpriority Debtor In Possession Credit Agreement
    (the “DIP Credit Agreement”), which provides for the extension of
    term loans to the Company by and among the Company as
    borrower, and the Member, as guarantor, the lenders party thereto
    (the“DIP Lenders”), and Keybank, National Association, for itself,
    as a Lender and as Agent for itself and the other Lenders
    (in such capacity, the “DIP Agent”) substantially in the form
    presented to the Member on or in advance of the date hereof, with
    such changes, additions, and modifications thereto as an Authorized
    Officers executing the same shall approve, such approval to be
    conclusively evidenced by an Authorized Officers’ execution and
    delivery thereof.

           RESOLVED, that the Company will obtain benefits from
    the incurrence of the obligations and the occurrence and
    consummation of the transactions contemplated by the DIP Credit
    Agreement substantially in the form presented to the Member,
    which are necessary and appropriate to the conduct, promotion, and
    attainment of the business of the Company.

            RESOLVED, that the form, terms, and provisions of the
    DIP Credit Agreement, and the grant of security interests, the
    borrowings, any guaranties of indebtedness thereunder, and the
    transactions contemplated thereby be, and hereby are authorized,
    adopted, and approved, and any Authorized Officer or other officer


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of the Company is hereby authorized and empowered, in the name
of and on behalf of the Company, to take such actions and negotiate
or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, each of the transactions
contemplated by the DIP Credit Agreement substantially in the
form provided to the Member and such other agreements,
certificates, instruments, receipts, petitions, motions, or other
papers or documents to which the Company is or will be a party or
any order entered into in connection with the chapter 11 case
(collectively with the DIP Credit Agreement, the “Financing
Documents”), incur and pay or cause to be paid all related fees and
expenses, with such changes, additions, and modifications thereto
as an Authorized Officer executing the same shall approve.

        RESOLVED, that the Company, as debtor and debtor in
possession under the Bankruptcy Code be, and hereby is, authorized
to incur any and all obligations and to undertake any and all related
transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing
Transactions”), including granting liens on its assets to secure such
obligations.

        RESOLVED, that the Authorized Officers be, and they
hereby are, authorized, directed, and empowered in the name of,
and on behalf of, the Company, as debtor and debtor in possession,
to take such actions as in their discretion are determined to be
necessary, desirable, or appropriate to execute, deliver, and file:
(a) the Financing Documents and such agreements, certificates,
instruments, guaranties, notices, and any and all other documents,
including, without limitation, any amendments, supplements,
modifications,      renewals,       replacements,      consolidations,
substitutions, and extensions of any Financing Documents,
necessary, desirable, or appropriate to facilitate the Financing
Transactions; (b) all petitions, schedules, lists, and other motions,
papers, or documents, which shall in their sole judgment be
necessary, proper, or advisable, which determination shall be
conclusively evidenced by his or their execution thereof; (c) such
other instruments, certificates, notices, assignments, and documents
as may be reasonably requested by the DIP Agent or the DIP
Lenders; and (d) such forms of deposit, account control agreements,
officer’s certificates, and compliance certificates as may be
authorized or required by the Financing Documents.

       RESOLVED, that the Authorized Officers be, and they
hereby are, authorized, directed, and empowered in the name of,
and on behalf of, the Company to file or to authorize the DIP Agent
to file any Uniform Commercial Code (“UCC”) financing


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         statements, any other equivalent filings, any intellectual property
         filings and recordation, and any necessary assignments for security
         or other documents in the name of the Company that the DIP Agent
         or the DIP Lenders deem necessary or convenient to perfect any
         lien or security interest granted under the Financing Documents,
         including any such UCC financing statement containing a generic
         description of collateral, such as “all assets,” “all property now or
         hereafter acquired,” and other similar descriptions of like import,
         and to execute and deliver, and to record or authorize the recording
         of, such mortgages and deeds of trust in respect of real property of
         the Company and such other filings in respect of intellectual and
         other property of the Company, in each case as the DIP Agent or
         the DIP Lenders may reasonably request to perfect the security
         interests of the DIP Agent or the DIP Lenders under the Financing
         Documents.

                 RESOLVED, that the Authorized Officers be, and they
         hereby are, authorized, directed and empowered in the name of, and
         on behalf of, the Company to take all such further actions,
         including, without limitation, to pay or approve the payment of all
         fees and expenses payable in connection with the Financing
         Transactions and all fees and expenses incurred by or on behalf of
         the Company in connection with the foregoing resolutions, in
         accordance with the terms of the Financing Documents, which shall
         in their reasonable business judgment be necessary, proper, or
         advisable to perform the Company’s obligations under or in
         connection with the Financing Documents or any of the Financing
         Transactions and to fully carry out the intent of the foregoing
         resolutions.

                 RESOLVED, that each of the Authorized Officers be, and
         hereby is, authorized, directed, and empowered in the name of, and
         on behalf of, the Company, to execute and deliver any amendments,
         supplements,       modifications,      renewals,      replacements,
         consolidations, substitutions, and extensions of any of the
         Financing Documents or to do such other things which shall in their
         sole judgment be necessary, desirable, proper, or advisable to give
         effect to the foregoing resolutions, which determination shall be
         conclusively evidenced by his or their execution thereof.

USE OF CASH COLLATERAL

                 RESOLVED, that the Authorized Officers be, and hereby
         are, authorized, directed, and empowered in the name of, and on
         behalf of, the Company to seek approval of the use of cash
         collateral pursuant to a cash management order, and orders of the
         Bankruptcy Court in interim and final form (the “DIP Orders”),


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    and any Authorized Officer be, and hereby is, authorized,
    empowered, and directed to negotiate, execute, and deliver any and
    all agreements, instruments, or documents, by or on behalf of the
    Company, necessary to implement the DIP Orders, including
    providing for adequate protection to the Prepetition Secured
    Lenders in accordance with section 363 of the Bankruptcy Code,
    as well as any additional or further agreements for the use of cash
    collateral in connection with the Chapter 11 Cases, which
    agreement(s) may require each Company to grant adequate
    protection and liens to the Prepetition Secured Lenders and the DIP
    Lenders and each other agreement, instrument, or document to be
    executed and delivered in connection therewith, by or on behalf of
    each Company pursuant thereto or in connection therewith, all with
    such changes therein and additions thereto as any Authorized
    Officer approves, such approval to be conclusively evidenced by
    the taking of such action or by the execution and delivery thereof.

            RESOLVED, that the Authorized Officers be, and hereby
    are, authorized, directed, and empowered in the name of, and on
    behalf of, the Company to execute and deliver any amendments,
    supplements,       modifications,      renewals,     replacements,
    consolidations, substitutions, and extensions of the DIP Orders or
    to do such other things which shall in his/her judgement be
    necessary, desirable, proper, or advisable, to give effect to the
    foregoing resolutions, which determination shall be conclusively
    evidenced by his or their execution thereof.

CHAPTER 11 PLAN AND DISCLOSURE STATEMENT FILING

            RESOLVED, that, in the judgment of the Member, it is in
    the best interests of the Company as a chapter 11 debtor and debtor
    in possession, their creditors, and other parties in interest in the
    Company’s chapter 11 case to file a plan of reorganization
    (the “Plan”) to resolve outstanding claims against and equity
    interests in the Company, as well as a disclosure statement
    (the “Disclosure Statement”) for soliciting support of the Plan
    among the constituencies permitted to vote for the plan under the
    Bankruptcy Code, and that each of the Authorized Officers be, and
    hereby is, authorized and directed, on behalf of the Company, to
    execute and file such Plan and Disclosure Statement with the
    Bankruptcy Court.

STORE CLOSING

           RESOLVED, that each of the Authorized Officers be, and
    hereby is, authorized and directed to begin the process of closing
    various Company stores and liquidating the assets and inventory


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    related thereto, including by negotiating with, and ultimately hiring,
    an agent to represent and assist each Company in operating “store
    closing” sales as is determined to be necessary; and in connection
    therewith, each Authorized Officer, with power of delegation, is
    hereby authorized and directed to execute appropriate retention
    agreements, pay appropriate retainers, and to cause to be filed
    appropriate applications for authority to retain the services of such
    agent.

GENERAL

            RESOLVED, that in addition to the specific authorizations
    heretofore conferred upon the Authorized Officers, each of the
    Authorized Officers (and their designees and delegates) be, and
    hereby is, authorized and empowered, in the name of and on behalf
    of the Company, to take or cause to be taken any and all such other
    and further action, and to execute, acknowledge, deliver, and file
    any and all such agreements, certificates, instruments, and other
    documents and to pay all expenses, including but not limited to
    filing fees, in the case as in such officer’s or officers’ judgment,
    shall be necessary, advisable, or desirable in order to fully carry out
    the intent and accomplish the purposes of the resolutions adopted
    herein.

            RESOLVED, that the Member has received sufficient notice
    of the actions and transactions relating to the matters contemplated
    by the foregoing resolutions, as may be required by the
    organizational documents of the Company, or hereby waives any
    right to have received such notice.

            RESOLVED, that all acts, actions, and transactions relating
    to the matters contemplated by the foregoing resolutions done in the
    name of and on behalf of the Company, which acts would have
    been approved by the foregoing resolutions except that such acts
    were taken before the adoption of these resolutions, are hereby in
    all respects approved and ratified as the true acts and deeds of the
    Company with the same force and effect as if each such act,
    transaction, agreement, or certificate has been specifically
    authorized in advance by resolution of the Member.

           RESOLVED, that each of the Authorized Officers (and their
    designees and delegates) be, and hereby is, authorized and
    empowered to take all actions or to not take any action in the name
    of the Company with respect to the transactions contemplated by
    these resolutions hereunder as the sole shareholder, partner,
    member, managing member, or manager of each direct subsidiary
    of the Company, in each case, as such Authorized Officer shall


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deem necessary or desirable in such Authorized Officers’
reasonable business judgment as may be necessary or convenient to
effectuate the purposes of the transactions contemplated herein.

       FURTHER RESOLVED, that facsimile or photostatic
copies of signatures to this consent shall be deemed to be originals
and may be relied on to the same extent as the originals.

        FURTHER RESOLVED, that the actions taken by this
written consent shall have the same force and effect as if taken at a
special meeting of the Member duly called and constituted pursuant
to the LLC Agreement and the laws of the State of Delaware.

                  *      *       *       *      *




                                 9
            Case 19-10488-LSS      Doc 1    Filed 03/11/19    Page 15 of 27



       IN WITNESS WHEREOF, the undersigned Member has executed this Consent as of the
date above first written.

                                        Z GALLERIE HOLDING COMPANY, LLC,
                                        a Delaware limited liability company

                                        By: Z Gallerie Holdings, LLC, its sole member


                                        By:______________________________
                                        Name: Mark Weinsten
                                        Title: Authorized Officer




                   [Signature Page to Z Gallerie, LLC Written Consent]
                                                     Case 19-10488-LSS                            Doc 1           Filed 03/11/19                     Page 16 of 27



    Fill in this information to identify the case:
    Debtor name Z Gallerie, LLC, et al.
    United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                   ¨
    Case number (If known): ______________
                                                                                                                                                                       Check if this is an amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and
    Are Not Insiders                                 12/15


    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
    Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
    unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest unsecured claims.
                                                                                                                                                                    Amount of unsecured claim
                                                                                                                                                                    If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                     Nature of the claim (for                       amount. If claim is partially secured, fill in total claim
                                                                                                                                                  Indicate if claim amount and deduction for value of collateral or setoff to
                                                                                                                      example, trade debts,
Name of creditor and complete mailing address,                     Name, telephone number, and email address of                                    is contingent,   calculate unsecured claim.
                                                                                                                     bank loans, professional
              including zip code                                                 creditor contact                                                 unliquidated, or
                                                                                                                    services, and government
                                                                                                                                                      disputed        Total claim, if      Deduction for
                                                                                                                            contracts)
                                                                                                                                                                         partially       value of collateral     Unsecured claim
                                                                                                                                                                          secured             or setoff


                                                             Ryan Foltz
  BRENTWOOD ASSOCIATES
                                                             T: 310-477-6611
1 11150 SANTA MONICA STE 1200                                                                                         Unsecured Note Claims                                                                   $       29,023,618
                                                             F: 310-477-1011
  LOS ANGELES, CA 90025
                                                             rfoltz@brentwood.com



    UPS SUPPLY CHAIN SOLUTIONS INC.                          BONIFACIO GAPULTOS
    ATTN: BONIFACIO GAPULTOS                                 T: 310-971-3786
2                                                                                                                            Transportation                                                                   $         2,260,553
    55 GLENLAKE PARKWAY NE                                   F: 404-828-6912
    ATLANTA, GA 30328                                        bonifacio.gapultos@ups.com



                                                             JOE CHANG
  FEDERAL EXPRESS (FEDEX)
                                                             T: 909-816-3584
3 3610 HACKS CROSS ROAD                                                                                                      Transportation                                                                  $            735,985
                                                             F: 800-548-3020
  MEMPHIS, TN 38125
                                                             joseph.chang@fedex.com




                                                             Martin Dube
  APTOS INC.
                                                             T: 1.678.671.0787
4 945 EAST PACES FERRY ROAD, SUITE 2500                                                                                   Professional Services                                                              $            610,789
                                                             mdube@aptos.com
  ATLANTA, GA 30326




                                                             ROSS HINTZ
  EDC MOVING SYSTEMS
                                                             T: 713-680-2221 Ext. 212
5 2228 WIRTCREST, SUITE G                                                                                                    Transportation                                                                  $            571,540
                                                             F: 713-682-4259
  HOUSTON, TX 77055
                                                             rhintz@edc-mover.com




                                                             MICHAEL STONE AND MARISSA ALLEN
  WPROMOTE INC.
                                                             T: 310-421-4844
6 2100 EAST GRAND AVENUE, FIRST FLOOR                                                                                     Professional Services                                                              $            516,320
                                                             F: 310-335-0488
  EL SEGUNDO, CA 90245
                                                             mstone@wpromote.com; Marissa@wpromote.com




                                                                                                            Page 1 of 8
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                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                       Nature of the claim (for                       amount. If claim is partially secured, fill in total claim
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                                                                                                       bank loans, professional
               including zip code                                  creditor contact                                                 unliquidated, or
                                                                                                      services, and government
                                                                                                                                        disputed        Total claim, if      Deduction for
                                                                                                              contracts)
                                                                                                                                                           partially       value of collateral     Unsecured claim
                                                                                                                                                            secured             or setoff




                                                  CHRIS WAASTED
  C.H. ROBINSON COMPANY
                                                  T: 714-647-7920
7 14701 CHARLSON ROAD                                                                                          Transportation                                                                  $            429,490
                                                  F: 952-937-7703
  EDEN PRAIRIE, MN 55347-5076
                                                  Chris.Waasted@chrobinson.com




  BASSETT MIRROR COMPANY INC.                     T: 276-629-3341 Ext. x321
8 1290 PHILPOTT DRIVE                             F: 276-629-3709                                              Merchandising                                                                   $            418,680
  BASSETT, VA 24055




                                                  SCOTT DECUBELLIS
  TUSCANY 3PL
                                                  T: 954-567-1700 Ext. 101
9 740 S. POWERLINE RD STE F                                                                                    Transportation                                                                  $            401,225
                                                  F: 954-486-5886
  DEERFIELD BEACH, FL 33442
                                                  sd@tuscany3pl.com




   LEFTBANK ART                                   T: 562-623-9328
10 14821 ARTESIA BLVD.                            F: 562-623-9369                                              Merchandising                                                                    $       384,318.00
   LA MIRADA, CA 90638




   CORRA TECHNOLOGY INC.
                                                  T: 212-268-4500
11 363 BLOOMFIELD AVENUE                                                                                    Professional Services                                                              $            281,470
                                                  F:
   MONCTLAIR, NJ 07042




                                        MAGGIE NEILL
   COYOTE LOGISTICS LLC
                                        T: 773-365-6021
12 2545 WEST DIVERSEY AVENUE, 3RD FLOOR                                                                        Transportation                                                                  $            226,192
                                        F: 847-295-2828
   CHICAGO, IL 60647
                                        maggie.neill@coyote.com




                                                                                              Page 2 of 8
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                                                                                                                                                      Amount of unsecured claim
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                                                                                                       bank loans, professional
               including zip code                                  creditor contact                                                 unliquidated, or
                                                                                                      services, and government
                                                                                                                                        disputed        Total claim, if      Deduction for
                                                                                                              contracts)
                                                                                                                                                           partially       value of collateral     Unsecured claim
                                                                                                                                                            secured             or setoff




   DALLIMORE & CO. INC.
                                                  T: 212-503-0101
13 160 MERCER STREET, FLOOR 2                                                                               Professional Services                                                              $            225,000
                                                  F:
   NEW YORK, NY 10012




     LSC COMMUNICATIONS US LLC
                                                  T: 312-326-8000
     KEITH KANTOR
14                                                F: 312-326-8594                                           Professional Services                                                              $            213,279
     35 WEST WACKER DRIVE
                                                  keith.e.kantor@lsccom.com
     CHICAGO, IL 60601




     FACILITYSOURCE LLC
                                                  T: 614-318-1816
     200 EAST CAMPUS VIEW BOULEVARD,
15                                                F: 614-318-1701                                           Professional Services                                                              $            201,080
     SUITE 301
     COLUMBUS, OH 43235




   FEIZY RUGS                                     T: 214-747-6000
16 13800 DIPLOMAT DRIVE                           F: 214-760-0521                                              Merchandising                                                                   $            200,164
   DALLAS, TX 75234-8812




   TERRENO 139TH LLC                              T: 310-363-4813
17 101 MONTGOMERY STREET                          F: 415-655-4599                                                 Landlord                                                                     $            198,046
   SAN FRANCISCO, CA 94104




     XPO LOGISTICS
                                                  SCOTT MATASAR
                                                  T: 720-457-6458
18 8283 NORTH HAYDEN ROAD                                                                                      Transportation                                                                  $            171,968
                                                  F: 888-890-3874
   HAYDEN CORPORATE CENTER, SUITE 220
                                                  Scott.Matasar@xpo.com
   SCOTTSDALE, AZ 85258




                                                  AARON TAUB
   MIDLAND PAPER COMPANY
                                                  T: 847-777-2856
19 101 EAST PALATINE ROAD                                                                                   Professional Services                                                              $            167,898
                                                  F: 847-403-6320
   WHEELING, IL 60090
                                                  aaron.taub@midlandpaper.com




                                                                                              Page 3 of 8
                                           Case 19-10488-LSS                        Doc 1           Filed 03/11/19                     Page 19 of 27



                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                       Nature of the claim (for                       amount. If claim is partially secured, fill in total claim
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                                                                                                       bank loans, professional
               including zip code                                  creditor contact                                                 unliquidated, or
                                                                                                      services, and government
                                                                                                                                        disputed        Total claim, if      Deduction for
                                                                                                              contracts)
                                                                                                                                                           partially       value of collateral     Unsecured claim
                                                                                                                                                            secured             or setoff




                                                  BEN DENNIS
   CUSTOM GLOBAL LOGISTICS
                                                  T: 310-221-3921
20 317 WEST LAKE STREET                                                                                        Transportation                                                                  $            166,827
                                                  F: 708-338-9033
   NORTHLAKE, IL 60164
                                                  bdennis@customco.com




   CLASSIC CONCEPTS INC.                          T: 323-266-8993
21 4505 BANDINI BOULEVARD                         F: 323-266-8995                                              Merchandising                                                                   $            166,537
   VERNON, CA 90058




   LANDSBERG CO.                                  T: 650-871-3788
22 1388 SAN MATEO AVENUE                          F: 650-871-3781                                           Professional Services                                                              $            165,860
   SOUTH SAN FRANCISCO, CA 94080




   PEKING HANDICRAFT INC.                         T: 650-871-3717 Ext. x370
23 1388 SAN MATEO AVENUE                          F: 650-871-3781                                              Merchandising                                                                   $            145,808
   SO SAN FRANCISCO, CA 94080




   MICROEXCEL INC.                                T: 847-849-3159
24 400 PLAZA DRIVE, 1ST FL                        F: 201-221-7825                                           Professional Services                                                              $            129,584
   SECAUCUS, NJ 07096




   SPENCER N. ENTERPRISES INC.                    T: 626-448-0374
25 10810 SAINT LOUIS DRIVE                        F: 626-448-1153                                              Merchandising                                                                   $            115,494
   EL MONTE, CA 91731




     FACEBOOK INC.
                                                  T: 650-543-4800
     BRYN MELANSON
26                                                F: 650-543-4801                                           Professional Services                                                              $            114,458
     1 HACKER WAY
                                                  brynmelanson@fb.com
     MENLO PARK, CA 94025




                                                                                              Page 4 of 8
                                           Case 19-10488-LSS                          Doc 1              Filed 03/11/19                   Page 20 of 27



                                                                                                                                                         Amount of unsecured claim
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                                                                                                           Nature of the claim (for                      amount. If claim is partially secured, fill in total claim
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                                                                                                           bank loans, professional
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                                                                                                          services, and government
                                                                                                                                           disputed        Total claim, if      Deduction for
                                                                                                                  contracts)
                                                                                                                                                              partially       value of collateral     Unsecured claim
                                                                                                                                                               secured             or setoff




                                                  ROGER IBSEN
   ELITE DELIVERY
                                                  T: 707-745-4000
27 4935 INDUSTRIAL WAY                                                                                            Transportation                                                                  $            113,731
                                                  F: 707-747-4711
   BENICIA, CA 94510
                                                  roger@elitedelivery.net




   SOVOS COMPLIANCE LLC
                                                  T: 866-890-3970
28 200 BALLARDVALE STREET, 4TH FLOOR                                                                           Professional Services                                                              $            104,280
                                                  F:
   WILMINGTON, MA 01887




   PEOPLEREADY INC.                               T: 626-440-8225
29 1015 A STREET                                  F: 877-733-0399                                              Professional Services                                                              $             98,786
   TACOMA, WA 98402




   ACCURATE PERSONNEL LLC                         T: 847-310-9100
30 33 S ROSELLE ROAD                              F: 847-310-9284                                              Professional Services                                                              $             98,462
   SCHAUMBURG, IL 60193




                                                  KATHERINE BROWN AND ROSS KRAMER
   LISTRAK INC.
                                                  T: 717-627-4528
31 100 W. MILLPORT ROAD                                                                                        Professional Services                                                              $             95,750
                                                  F: 717-627-6087
   LITITZ, PA 17543
                                                  katherine.brown@listrak.com; ross.kramer@listrak.com




   CONWAY MACKENZIE                               T: 312-220-0100
32 77 WEST WACKER DR STE 4000                     F: 248-433-3143                                              Professional Services                                                              $             91,862
   CHICAGO, IL 60601




   KIERLAND GREENWAY LLC
                                                  T: 480-348-1577
33 15205 N. KIERLAND, SUITE 150                                                                                      Landlord                                                                     $             88,680
                                                  F:
   SCOTTSDALE, AZ 85254




                                                                                                 Page 5 of 8
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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                        Nature of the claim (for                       amount. If claim is partially secured, fill in total claim
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                                                                                                        bank loans, professional
               including zip code                                   creditor contact                                                 unliquidated, or
                                                                                                       services, and government
                                                                                                                                         disputed        Total claim, if      Deduction for
                                                                                                               contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                             secured             or setoff




   DUKE REALTY LP                                 T: 317-808-6000
34 600 EAST 96TH STREET, SUITE 100                F: 317-808-6650                                                  Landlord                                                                     $             88,443
   INDIANAPOLIS, IN 46240




   ARENT FOX LLP                                  T: 213-629-7400
35 555 WEST FIFTH STREET, 48TH FLOOR              F: 213-629-7401                                            Professional Services                                                              $             88,116
   LOS ANGELES , CA 90013




     4TH STREET HOLDINGS LLC.
     C/O BOND RETAIL                              T: 415-646-0007
36                                                                                                                 Landlord                                                                     $             87,426
     5 THIRD STREET, STE 1225                     F:
     SAN FRANCISCO, CA 94103




     METROPOLITAN TELECOMMUNICATIONS              Sandra Binetti
     101 Crawfords Corner Rd                      T: (212) 607-2000
37                                                                                                           Professional Services                                                              $             82,652
     Holmdel NJ 07733                             F: (212) 701-8388
                                                  sbinetti@mettel.net




     KD KNOX STREET VILLAGE HOLDCO
     1209 ORANGE STREET                           T: 214-572-8426
38                                                                                                                 Landlord                                                                     $             82,272
     CORPORATION TRUST CENTER                     F:
     WILMINGTON, DE 19801




   HIGHLAND VILLAGE LTD PTSHP                     Haidar Barbouti
39 4055 WESTHEIMER RD                             T: (713) 850-3100                                                Landlord                                                                     $             82,007
   HOUSTON, TX 77027                              F:




     LOCKTON INSURANCE BROKERS LLC                Kristen Darling
     725 SOUTH FIGUEROA, 35TH FLOOR               T: 213 689 2357
40                                                                                                           Professional Services                                                              $             80,918
     LOS ANGELES, CALIFORNIA 90017                F: 213-689-0550
     UNITED STATES                                krdarling@lockton.com




                                                                                               Page 6 of 8
                                           Case 19-10488-LSS                        Doc 1           Filed 03/11/19                     Page 22 of 27



                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                      If the claim is fully unsecured, fill in only unsecured claim
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                                                                                                      services, and government
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                                                                                                              contracts)
                                                                                                                                                           partially       value of collateral     Unsecured claim
                                                                                                                                                            secured             or setoff


     CAF LAW GROUP
                                                  T: 323-202-2200
     8444 WILSHIREBLVD.
41                                                F: 323-218-8686                                           Professional Services                                                              $             78,555
     8TH FLOOR
     BEVERLY HILLS, CA 90211


   PINTEREST INC
                                                  Meaghan Haire
   808 BRANNAN STREET
                                                  P: 650-308-4604
42 SAN FRANCISCO, CA 94103-4904                                                                             Professional Services                                                              $             75,815
                                                  F:415-762-7101
                                                  meaghan@pinterest.com




   SADA SYSTEMS INC.                              T: 818-697-6926
43 5250 LANKERSHIM BLVD. STE 620                  F: 818-766-0090                                           Professional Services                                                              $             75,000
   N HOLLYWOOD, CA 91601




   SUN DELIVERY LLC
                                                  T: 336-472-5000
44 13 STANLEY AVE                                                                                              Transportation                                                                  $             74,388
                                                  F: 336-472-5189
   THOMASVILLE, NC 27360




                                                  JAMES MANNING
   MCG LOGISTICS
                                                  T: 949-699-0690 Ext. 211
45 23456 MADERO, STE 100                                                                                    Professional Services                                                              $             73,334
                                                  F: 949-625-9001
   MISSION VIEJO, CA 92691
                                                  jmanning@mcglogistics.com



     UE PATSON MT. DIABLO A LP
     C/O URBAN EDGE PROPERTIES                    T: 201-571-3500
46                                                                                                                Landlord                                                                     $             71,451
     210 ROUTE 4 EAST                             F:
     PARAMUS, NJ 07652




     RETAILNEXT INC.
                                                  T: 408-884-2162
     60 S MARKET STREET
47                                                F: 408-884-2162                                           Professional Services                                                              $             69,411
     10TH FLOOR
     SAN JOSE, CA 95113




                                                  Michael A. Hackler
   ERNST & YOUNG US LLP
                                                  P:1 213 977 3200
48 725 South Figueroa Street, Suite 500                                                                     Professional Services                                                              $             66,950
                                                  F:1 855 873 5329
   LOS ANGELES, CA 90017
                                                  michael.hackler@ey.com




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                                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                                      If the claim is fully unsecured, fill in only unsecured claim
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                including zip code                                          creditor contact                                                        unliquidated, or
                                                                                                                      services, and government
                                                                                                                                                        disputed        Total claim, if      Deduction for
                                                                                                                              contracts)
                                                                                                                                                                           partially       value of collateral     Unsecured claim
                                                                                                                                                                            secured             or setoff




     SELECT STAFFING
                                                         P: (805) 822-2200
     3820 STATE ST (N. LA CUMBRE RD.)
49                                                       F: 805-898-7111                                                    Professional Services                                                              $             65,852
     SANTA BARBARA, CA 93105
     UNITED STATES




   SOUTH COAST PLAZA                                     T: 714-641-5820
50 3333 BRISTOL STREET                                   F: 714-641-2858                                                          Landlord                                                                     $             64,433
   COSTA MESA, CA 92626




Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




                                                                                                              Page 8 of 8
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    Z GALLERIE, LLC,                                     )     Case No. 19-______ (___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders            Address of Equity Holder         Percentage of
                                                                                               Equity Held
                                  Z Gallerie Holding          1855 West 139th Street,
    Z Gallerie, LLC                                                                                100%
                                   Company, LLC                 Gardena, CA 90249




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
       chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 Z GALLERIE, LLC,                                     )    Case No. 19-______ (___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

             Z Gallerie Holding Company, LLC                                     100%
                   Case 19-10488-LSS               Doc 1      Filed 03/11/19        Page 26 of 27



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    Z GALLERIE, LLC, et al.,                                          )   Case No. 19-[____] (___)
                                                                      )
                                        Debtors.                      )   (Joint Administration Requested)
                                                                      )


                                    CERTIFICATION OF CREDITOR MATRIX

          Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United States
Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors in possession
(collectively, the “Debtors”)1 hereby certify that the Creditor Matrix submitted herewith contains the names and
addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete, correct,
and consistent with Debtors’ books and records.

          The information contained herein is based upon a review of the Debtors’ books and records as of the
petition date. However, no comprehensive legal and/or factual investigations with regard to possible defenses to any
claims set forth in the Creditor Matrix have been completed. Therefore, the listing does not, and should not, be
deemed to constitute: (1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability
of any listed claims; and/or (3) a waiver of any other right or legal position of the Debtors.




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
       Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.
                                    Case 19-10488-LSS                        Doc 1     Filed 03/11/19              Page 27 of 27




     F1ll ln lh1s 1nrorm• t1on to identify l 1o1a1 c.~r.,, arid 1h15 r,hnq

    Debtor Name             Z Gallerie LLC

    United States BanknJ tc Court for Iha:                                           District of Delaware
                                                                                                    (State)
    Case number If knO'Nll :



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the Individual's position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341 , 1519, and 3571.


-              Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
             partnership; or another individual serving as a representative of the debtor in this case.

             I have examined the Information in the documents checked below and I have a reasonable belief that the Information Is true
             and correct:

       •       Schedule AIB: Assets-Real and Personal Property (Official Form 206AIB)
       •       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       •       Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206EIF)
       •       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       •       Schedule H: Codebtors (Official Form 206H)
       •       Summary of Assets and Uabilitfes for Non-Individuals (Official Form 206Sum)
       •       Amended Schedule
       181     Chapter 11 or Chapter 9 Cases: Ust of Creditors Who Heve the 50 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
       181     Other document that requires a declaration1_ _ __J,J§1.....QiLJ;mlilY,,...§Gi.LtitlL.Jt:12!9fil~..9~Qll!~..Qlt!!l!~li.l!
               Statement. Certification of Creditor Matrix



     I declare under penalty of perjury that the foregoing is true and correct.

      Executed on
                                              03/11/2019

                                                                                     Mart.; Wein.ten
                                                                                     Printed name
                                                                                     lnterlrn President &CEO
                                                                                     Position or relationship to debtor

Official Fonn 202                                DeclaraUon Under Penalty of Perjury for Non-Individual Debtors
